Case 2:22-cv-01889-GW-RAO Document 25 Filed 05/31/22 Page 1 of 1 Page ID #:575



    1

    2
                                                                             JS-6
    3

    4

    5

    6

    7

    8                         UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
   10

   11    DORIS MABLE PIKE,                       Case No. CV 22-1889-GW-RAOx

   12                       Plaintiff,

   13          v.                                  ORDER TO DISMISS WITH
                                                   PREJUDICE
   14    HOBBY LOBBY STORES, INC.,
         et al.,
   15
                            Defendants.
   16

   17

   18
              Based upon the stipulation between the parties and their respective counsel,
   19
        it is hereby ORDERED that this action is dismissed with prejudice in its entirety.
   20
        Each party will bear its own attorneys’ fees and expenses.
   21
              IT IS SO ORDERED.
   22

   23
        Dated: May 31, 2022
   24
                                              _________________________________
   25
                                              HON. GEORGE H. WU,
   26                                         UNITED STATES DISTRICT JUDGE
   27

   28
